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                    UNITED STATES BANKRUPTCY COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

In Re:                          Case No. 8:24-bk-05243-CPM
XAVIER CHARLES ALEXANDER WASHINGTON II        Chapter 13

            Debtor.
_________________________/

                RESPONSE TO TRUSTEE’S MOTION TO DISMISS
         FOR FAILURE TO MAKE PAYMENTS TO TRUSTEE (DOCKET #59)

       Debtor, by and through the undersigned attorney, files this Response to Trustee’s Motion
to Dismiss for Failure to Make Payments to Trustee and states the following:

      1.     The Chapter 13 Trustee filed a Motion to Dismiss for Failure to Make Plan
Payments on July 10, 2025.

       2.     Pursuant to the Order Granting Motion to Sell Homestead Property (Docket #56),
Debtor closed on the sale of the property on July 9, 2025. A copy of the closing statement has
been provided to the Trustee.

       3.      The net proceeds of $102,360.89 have been disbursed to the Chapter 13 Trustee,
which is sufficient to pay 100% of all allowed claims.

       4.     Based on the foregoing, it would be appropriate for this Court to enter an order
denying the Trustee’s motion

       WHEREFORE, Debtor respectfully requests this Court to enter an order denying the
Trustee’s motion.

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been furnished by U.S. Mail or
electronic filing notice Jon Waage, Trustee; Xavier Washington, Debtor, 2109 Bayshore Blvd,
#211, Tampa, FL 33606; and the attached mailing matrix, this 13th day of July, 2025.

                                                    ____/s/ Kelley M. Petry____________
                                                    Kelley M. Petry, Esq. Fl Bar No 0388180
                                                    Law Offices of Robert M. Geller, P.A.
                                                    807 W. Azeele St.
                                                    Tampa, FL 33606
                                                    (813) 807-3449
                                                    email: kpetry@robertgellerlaw.com
